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Marcus A. Helt (TX 24052187)
C. Ashley Ellis (TX 00794824)
FOLEY GARDERE
FOLEY & LARDNER LLP
2021 McKinney Avenue, Suite 1600
Dallas, TX 75201
Telephone: 214.999.3000
Facsimile: 214.999.4667

COUNSEL FOR THE DEBTORS,
REAGOR-DYKES MOTORS, L.P., et al.

                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

    IN RE:                                                       §
                                                                 §
    REAGOR-DYKES MOTORS, LP, et al.1                             § Case No. 18-50214-rlj-11
                                                                 § Jointly Administered
                                      Debtor.                    §

      DEBTORS’ MOTION TO CONTINUE HEARING ON CONFIRMATION OF
         DEBTORS’ SECOND AMENDED PLAN OF REORGANIZATION,
            AS SUPPORTED BY THE AUTO INVESTMENT GROUP

        Reagor-Dykes Motors, LP and its debtor affiliates (collectively, “Reagor-Dykes” or the

“Debtors”), as debtors and debtors-in-possession in the above-styled and captioned case hereby files

this Debtors’ Motion to Continue Hearing on Confirmation of Debtors’ Second Amended Plan of Reorganization, as

Supported by The Auto Investment Group (“Motion to Continue”), which is supported by the Auto

Investment Group (defined in the Plan). In support of the Motion to Continue, the Debtors

respectfully state as follows:




1
  The Debtors are Reagor-Dykes Motor, LP (Case No. 18-50214); Reagor-Dykes Imports, LP (Case No. 18-50215),
Reagor-Dykes Amarillo (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes
Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes III LLC, Reagor-
Dykes Snyder, L.P. (Case No. 18-50321), (Case No. 18-50322), Reagor-Dykes II LLC (Case No. 18-50323), Reagor Auto
Mall Ltd (Case No. 18-50324) and Reagor Auto Mall I LLC (Case No. 18-50325).

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                                    EXECUTIVE SUMMARY

        1.      The Debtors filed their Second Amended Plan of Reorganization [Docket No. 1391] (the

“Plan”) on September 3, 2019. Under the Plan, the Debtors propose to implement a “restructuring

alternative” with the Auto Investment Group or, if that alternative is not implemented, a liquidating

alternative. As part of the Plan’s “restructuring alternative,” the Debtors propose to assume the Ford

Motor Company sales and service agreements. The Debtors, the Auto Investment Group, and Ford

Motor Company are involved in ongoing discussions about Ford Motor Company’s potential approval

of the Auto Investment Group as a Ford dealer and the structure and format of the Auto Investment

Group’s relationship with Ford. Because these discussions have not yet concluded, the Debtors would

like more time prior to the confirmation hearing to permit conclusion of negotiations with Ford Motor

Company. While the Debtors received the necessary votes to confirm the Plan under 11 U.S.C. § 1129,

they believe that a short continuance of the confirmation hearing to allow continued negotiations with

Ford Motor Company is in the best interests of the creditors and consumers and will help simplify

the presentation at the confirmation hearing. The Debtors have also resolved (and are closing to

resolving) various issues with interested parties and creditors, and this short continuance will allow

the Debtors to reduce these resolutions to writing so that they can be heard by the Court at the

continued confirmation hearing. Finally, certain changes in circumstances since the filing of the Plan,

including changes involving the go-forward treatment of the General Motors dealership, will require

modifications to the Plan As a result, the Debtors ask this Court to continue the hearing on the Plan

to January 7, 2020, or as soon thereafter as reasonably practicable for this Court.

                                 JURISDICTION AND VENUE

        2.      This Court has jurisdiction over this Motion to Continue pursuant to 28 U.S.C. § 1334

and § 157. This matter is a core proceeding under § 157(b) (2) (A), as it concerns the administrative

of the Debtors’ estates.


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        3.      Venue over this case and this Motion to Continue is proper in this Court under 28

U.S.C. §§ 1408 and 1409(a). The predicates for the relief requested are 11 U.S.C. § 105 and Bankruptcy

Rule 9006.

                                          BACKGROUND

        4.      On August 1, 2018 (the “Original Petition Date”), the certain Debtors filed

voluntary petitions for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101,

et. seq. (the “Bankruptcy Code”), thereby initiating the above-captioned, main jointly-administered

bankruptcy case (collectively, the “Chapter 11 Case”) in the Bankruptcy Court for the Northern

District of Texas, Dallas Division (the “Bankruptcy Court”). On November 2, 2018 (the

“Subsequent Petition Date”), certain Debtors filed voluntary petitions under chapter 11 of the

Bankruptcy Code.

        5.      The Debtors continue to operate and to manage their businesses as “debtors-in-

possession” pursuant to §§ 1107 and 1108 of the Bankruptcy Code.

        6.      A hearing on confirmation of the Plan (the “Confirmation Hearing”) is currently

scheduled for December 11, 2019, at 10:00 a.m.

                                      RELIEF REQEUSTED

        7.      The Debtors, as supported by the Auto Investment Group, ask this Court to continue

the Confirmation Hearing to December 20, 2019, or as soon thereafter as reasonably practicable for

the Court. The Debtors want (and the Plan’s goal is to provide) a positive outcome for the creditors,

consumers, and West Texas communities. A continued hearing date will give the Debtors more time

to finalize discussions with Ford Motor Company. The continued hearing date will also help streamline

and likely simplify any hearing to approve the Plan. For the foregoing reasons, and because the

requested continuance is in the best interests of the creditors and consumers, the Debtors request that




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the Confirmation Hearing be continued to January 7, 2020, or as soon thereafter as is reasonably

practicable and convenient for the Court.

       WHEREFORE, the Debtors respectfully request that the Confirmation Hearing be

continued to January 7, 2020, or as soon thereafter as is reasonably practicable and convenient for the

Court, and the Debtors be granted such other and further relief as the Court deems just and proper.


DATED: December 5, 2019                        Respectfully submitted:

                                               By: /s/ Marcus A. Helt
                                                      Marcus A. Helt (TX 24052187)
                                                      C. Ashley Ellis (TX 00794824)

                                               FOLEY GARDERE
                                               FOLEY & LARDNER LLP
                                               2021 McKinney Avenue, Suite 1600
                                               Dallas, TX 75201
                                               Telephone: 214.999.3000
                                               Facsimile: 214.999.4667
                                               mhelt@foley.com
                                               aellis@foley.com

                                               COUNSEL FOR DEBTORS,
                                               REAGOR-DYKES MOTORS, LP et al.

                                                       and

                                               SUPPORTED BY:

                                               /s/ Ian T. Peck
                                                   Ian T. Peck (TX 24013306)

                                               HAYNES AND BOONE, LLP
                                               2323 Victory Avenue, Suite 700
                                               Dallas, TX 75219
                                               Telephone: 214.651.5155
                                               Facsimile: 817.348.2350
                                               ian.peck@haynesboone.com

                                               COUNSEL FOR
                                               AUTO INVESTMENT GROUP




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on December 5, 2019, a true and correct copy of the foregoing document
was served on all parties consenting to electronic service of this case via the Court’s ECF system for
the Northern District of Texas.


                                               /s/ Marcus A. Helt
                                                 Marcus A. Helt




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